
*1090ON APPLICATION FOR ADMISSION TO THE BAR.
PER CURIAM.
After reviewing the evidence and considering the law, we conclude petitioner, Carl S. Jolivette, is eligible to be conditionally admitted to the practice of law in Louisiana, subject to a probationary period of two years. The probationary period may be extended upon recommendation of the Executive Director of the Lawyers Assistance Program. During the probationary period, petitioner shall comply with all of the terms and conditions of the contract executed by him with the Lawyers Assistance Program, and such other conditions as may be imposed upon him by the Executive Director of the Lawyers Assistance Program. Should petitioner fail to make a good faith effort to satisfy these conditions, or should he commit any misconduct during the period of probation, his conditional right to practice may be terminated or he may be subjected to other discipline pursuant to the Rules for Lawyer Disciplinary Enforcement.
CONDITIONAL ADMISSION GRANTED.
JOHNSON, VICTORY and TRAYLOR, JJ., dissent and would appoint a commissioner.
